                          UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF ALABAMA
                                  SOUTHERN DIVISION

 In re:

 Lucas A. Hester,                                      Case No. 22-12523-HAC-7

                         Debtor.


 Lucas A. Hester,

                         Plaintiff,                    Adv. Proc. No. 23-1002-HAC

 v.

 United States Department of Education,

                         Defendant.


          UNOPPOSED SECOND MOTION TO CONTINUE ANSWER DEADLINE

          The United States of America, by and through the United States Attorney for the

Southern District of Alabama, Sean P. Costello, on behalf of the United States Department of

Education (USDE) respectfully requests that the Court continue USDE’s deadline to answer or

otherwise respond to May 26, 2023, and reschedule the scheduling conference presently

scheduled for May 23, 2023. As grounds, the United States submits:

          1.     Since the United States’ previous motion to continue the answer deadline in this

case [Doc. 8], Plaintiff Lucas Hester provided his signed attestation to the United States, which

has been forwarded to USDE for review.

          2.     The undersigned and the USDE are reviewing the attestation to determine

whether the parties should enter into a stipulation regarding the dischargeability of the student

loans at issue but need additional time to make that determination.

                                                  1


  Case 23-01002         Doc 10        Filed 04/28/23 Entered 04/28/23 11:44:21        Desc Main
                                        Document     Page 1 of 3
       3.      The undersigned contacted Hester’s counsel, James D. Patterson, who does not

oppose this request for extension.

       4.      No party will be prejudiced by such an extension.

       Based on the foregoing, the United States respectfully requests the Court continue the

deadline to answer or otherwise respond to May 26, 2023, and reschedule the scheduling

conference presently scheduled for May 23, 2023.

                                                    Respectfully submitted,

                                                    SEAN P. COSTELLO
                                                    UNITED STATES ATTORNEY

                                               By: s/Keith A. Jones
                                                   Keith A. Jones
                                                   Assistant United States Attorney
                                                   63 South Royal Street, Suite 600
                                                   Mobile, Alabama 36602
                                                   Telephone: (251) 415-7206
                                                   Email: keith.jones2@usdoj.gov




                                               2


  Case 23-01002       Doc 10     Filed 04/28/23 Entered 04/28/23 11:44:21          Desc Main
                                   Document     Page 2 of 3
                                CERTIFICATE OF SERVICE

       I hereby certify that on April 28, 2023, the foregoing was electronically filed with the
Clerk of the Court using the CM/ECF system which will send notification of such filing to all
counsel of record.


                                                     s/Keith A. Jones
                                                     Keith A. Jones




                                                3


  Case 23-01002       Doc 10     Filed 04/28/23 Entered 04/28/23 11:44:21           Desc Main
                                   Document     Page 3 of 3
